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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                     )
In re:                                               )   Chapter 11
                                                     )
SEABOARD HOTEL MEMBER                                )   Case No. 15-12510 (LSS)
ASSOCIATES, LLC, et al.,                             )
                                                     )
            Post-Effective Date Plan Debtors. 1      )
                                                     )
                                                     )

                  NOTES REGARDING AMENDED LISTS OF
         EQUITY SECURITY HOLDERS OF INVESTOR TRUST DEBTORS
              IN ACCORDANCE WITH BANKRUPTCY RULE 1007

 These Notes Regarding the Amended Lists of Equity Security Holders of Investor
 Trust Debtors comprise an integral part of the Amended Lists of Equity Security
 Holders of Investor Trust Debtors and should be referred to and considered in
 connection with any review of the Amended Lists of Equity Security Holders of
 Investor Trust Debtors.

                On December 21, 2015, Newbury Common Associates, LLC; Seaboard
 Realty, LLC; 600 Summer Street Stamford Associates, LLC; Seaboard Hotel Member
 Associates, LLC; Seaboard Hotel LTS Member Associates, LLC; Park Square West
 Member Associates, LLC; Seaboard Residential, LLC; One Atlantic Member
 Associates, LLC; 88 Hamilton Avenue Member Associates, LLC; 316 Courtland
 Avenue Associates, LLC; 300 Main Management, Inc.; 300 Main Street Member
 Associates, LLC; PSWMA I, LLC; PSWMA II, LLC; and Tag Forest, LLC
 (collectively, the “Original Debtors”) in the above-captioned, jointly administered
 chapter 11 cases filed Lists of Equity Security Holders (collectively, the “Original Lists
 of Equity Holders”) pursuant to Rule 1007 of the Federal Rules of Bankruptcy
 Procedure. 2

1         The Plan Debtors (defined below) in these cases are: 600 Summer Street Stamford Associates,
          LLC; Seaboard Hotel Member Associates, LLC; Seaboard Hotel LTS Member Associates, LLC;
          Park Square West Member Associates, LLC; Seaboard Residential, LLC; One Atlantic Member
          Associates, LLC; 88 Hamilton Avenue Member Associates, LLC; 316 Courtland Avenue
          Associates, LLC; 300 Main Management, Inc.; 300 Main Street Member Associates, LLC;
          PSWMA I, LLC; PSWMA II, LLC; Tag Forest, LLC; Century Plaza Investor Associates, LLC;
          Seaboard Hotel Associates, LLC; Seaboard Hotel LTS Associates, LLC; Park Square West
          Associates, LLC; Clocktower Close Associates, LLC; One Atlantic Investor Associates, LLC; 88
          Hamilton Avenue Associates, LLC; 220 Elm Street I, LLC; 300 Main Street Associates, LLC; and
          220 Elm Street II, LLC.
2         The Original Lists of Equity Holders were docketed in In re Newbury Common Associates, LLC,
          et al., Case No. 15-15207 (LSS). On June 29, 2017, the Court entered an Order (A) Dismissing
          the Newbury Common Associates, LLC and Newbury Common Member Associates, LLC Chapter


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                 On May 18, 2017, the United States Bankruptcy Court for the District of
 Delaware entered an Order (the “Confirmation Order”), 3 among other things:
 (i) confirming the Amended Joint Plan of Liquidation under Chapter 11 of the Bankruptcy
 Code for PropCo Debtors and HoldCo Debtors (With Technical Modifications) (the
 “Plan”); 4 and (ii) establishing an Investor Trust. The Plan is a plan of liquidation for the
 following Original Debtors (collectively, the “Plan Debtors”): 600 Summer Street
 Stamford Associates, LLC; Seaboard Hotel Member Associates, LLC; Seaboard Hotel
 LTS Member Associates, LLC; Park Square West Member Associates, LLC; Seaboard
 Residential, LLC; One Atlantic Member Associates, LLC; 88 Hamilton Avenue Member
 Associates, LLC; 316 Courtland Avenue Associates, LLC; 300 Main Management, Inc.;
 300 Main Street Member Associates, LLC; PSWMA I, LLC; PSWMA II, LLC; Tag
 Forest, LLC; Century Plaza Investor Associates, LLC; Seaboard Hotel Associates, LLC;
 Seaboard Hotel LTS Associates, LLC; Park Square West Associates, LLC; Clocktower
 Close Associates, LLC; One Atlantic Investor Associates, LLC; 88 Hamilton Avenue
 Associates, LLC; 220 Elm Street I, LLC; 300 Main Street Associates, LLC; and 220 Elm
 Street II, LLC.

                The Plan contemplates, among other things, that the Investor Trustee will
 make distributions (if any) to Trust Beneficiaries, which include holders of Allowed
 Equity Interests in, and Allowed Investor Claims against, the Investor Trust Debtors (as
 defined below). Under the Plan, the Investor Trust Debtors comprise a subset of the
 Plan Debtors . The Investor Trust Debtors are: 88 Hamilton Avenue Member Associates,
 LLC; 88 Hamilton Avenue Associates, LLC; Park Square West Member Associates,
 LLC; Park Square West Associates, LLC; PSWMA I, LLC; PSWMA II, LLC; Seaboard
 Hotel Member Associates, LLC; and Seaboard Hotel Associates, LLC (collectively, the
 “Investor Trust Debtors”).

                The Investor Trustee has undertaken to update the Original Lists of
 Equity Holders solely as they relate to the Investor Trust Debtors and hereby files the
 Amended Lists of Equity Security Holders of Investor Trust Debtors (the “Amended
 Equity Holders – Investor Trust Debtors List”). In reviewing and updating the Original
 Lists of Equity Holders to compile the Amended Equity Holders – Investor Trust
 Debtors List, the Investor Trustee necessarily has relied upon the books and records that
 are available and reviewable at this time. The Investor Trustee has not (and could not
 have) personally verified the accuracy of the information contained in the Amended
 Equity Holders – Investor Trust Debtors List.



          11 Cases and (B) Granting Related Relief (Docket No. 1872) (the “Newbury Dismissal Order”)
          pursuant to which Seaboard Hotel Member Associates, LLC became the lead Debtor for the Plan
          Debtors’ cases, and parties-in-interest were directed to consult the docket of its chapter 11 case
          (Case No. 15-12510 (LSS)) for docket entries for the Plan Debtors made on and after June 29,
          2017. Newbury Dismissal Order ¶ 7.
3         Case No. 15-15207 (LSS), Docket No. 1805.
4         Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
          the Plan.



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               Reasonable efforts have been made to prepare and file complete and
accurate Amended Equity Holders – Investor Trust Debtors List based on currently
available information that has been reviewed; however, inadvertent errors or omissions
may exist. The Investor Trustee reserves all rights to amend or supplement the
Amended Equity Holders – Investor Trust Debtors List from time to time, in all
respects, as may be necessary or appropriate. Furthermore, nothing contained in the
Amended Equity Holders – Investor Trust Debtors List shall constitute a waiver of
rights, claims and defenses of the Investor Trust Debtors or any other Plan Debtor.
Any specific reservation of rights contained elsewhere in the Notes does not limit in
any respect the general reservation of rights contained in this paragraph. The Investor
Trustee and its agents, attorneys, and financial advisors expressly do not undertake any
obligation to update, modify, revise, or re-categorize the information provided herein,
or to notify any third party should the information be updated, modified, revised, or re-
categorized.

                The Investor Trustee and its agents, attorneys, and financial advisors do
not guarantee or warrant the accuracy or completeness of the data that is provided herein
and shall not be liable for any loss or injury arising out of or caused in whole or in part
by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the
information contained herein. While every effort has been made to provide accurate and
complete information herein, inadvertent errors or omissions may exist. In no event shall
the Investor Trustee or its agents, attorneys, and financial advisors be liable to any third
party for any direct, indirect, incidental, consequential, or special damages (including,
but not limited to, damages arising from the disallowance of a potential claim against or
interest in any of the Plan Debtors or damages to business reputation, lost business, or
lost profits), whether foreseeable or not and however caused, even if the Investor
Trustee, the Plan Debtors or their agents, attorneys, and financial advisors are advised of
the possibility of such damages.




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                  AMENDED LISTS OF INVESTOR TRUST DEBTORS’ EQUITY
             SECURITY HOLDERS IN ACCORDANCE WITH BANKRUPTCY RULE 1007

Membership Interests in Seaboard Hotel Associates, LLC
                                         Seaboard Hotel Associates, LLC
            Equity Holder               Address of Equity Holder           Interest      Con-       Un-        Dis-
                                                                          Percentage   tingent   liquidated   puted
Seaboard Hotel Member Associates,   c/o META Advisors LLC                   100%
LLC                                 101 Park Avenue, 30th Floor
                                    New York, NY 10178



Membership Interests in Seaboard Hotel Member Associates, LLC
                                    Seaboard Hotel Member Associates, LLC
            Equity Holder               Address of Equity Holder        Interest         Con-       Un-        Dis-
                                                                       Percentage      tingent   liquidated   puted
Seaboard Realty, LLC                c/o Thomas Kelly                     25.00%                                X
                                    130 Brookline Drive
                                    Pinehurst, NC 28374

                                    Jeoffrey L. Burtch
                                    P.O. Box 549
                                    Wilmington, DE 19899

                                    Sean T. Greecher
                                    Young Conaway Stargatt & Taylor,
                                    LLP
                                    1000 North King Street Wilmington,
                                    DE 19801
Martha R. Andrus                    2554 Linden Drive                     0.45981%
                                    Boulder, CO 80304-0430
John M. Callagy                     3 Althea Lane                         0.73569%
                                    Darien, CT 06820
Vincent C. And Julie A. Cavaliere   191 Gerdes Road                       0.73569%
                                    New Canaan, CT 06840
Brian C. DiMenna                    1110 Park Avenue, Apt 3L              0.18392%                             X
                                    Hoboken, NJ 07030
John J. DiMenna, III                c/o John J. DiMenna, Jr.              0.18392%                             X
                                    9088 Englewood Court
                                    Vero Beach, FL 32963
M. Lynn DiMenna                     9088 Englewood Court                  0.36784%                             X
                                    Vero Beach, FL 32963
Meredith DiMenna                    c/o John J. DiMenna, Jr.              0.18392%                             X
                                    9088 Englewood Court
                                    Vero Beach, FL 32963
Thomas E. DiMenna                   c/o John J. DiMenna, Jr.              0.18392%                             X
                                    9088 Englewood Court
                                    Vero Beach, FL 32963
CSD Holdings, LLC - Christopher     c/o Wells Fargo Adv-Acct #4938-       0.36785%
Durfee                              4116
                                    Attn: Alan Sylvestre
                                    86 Denison Avenue, Suite 1
                                    Mystic, CT 06355


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                                      Seaboard Hotel Member Associates, LLC
            Equity Holder                 Address of Equity Holder         Interest      Con-       Un-        Dis-
                                                                         Percentage    tingent   liquidated   puted
William A. Durkin, III                68 Peach Hill Road                  0.36785%
                                      Darien, CT 06820
Charles P. and Judith D. Eaton        20 Point Road                       2.20707%
                                      Norwalk, CT 06854
Gilbert H. Engels 2012 Family Trust   413 Mill Hill Terrace               4.78199%
Anna M Engels & Nicholas              Southport, CT 06890
DiCostanzo, Trustees
Alvin J. Epstein                      8 Marvin Street                      1.47138%
                                      Norwalk, CT 06855
William P. Frank                      67 St. Nicholas Road                 2.20707%
                                      Darien, CT 06820
David Frankel Trustee                 The Bud Frankel Irrevocable Trust    0.73569%
                                      f/b/o Alexander Frankel
                                      38 Circle Drive
                                      Hastings on Hudson, NY 10706
David Frankel Trustee                 The Bud Frankel Irrevocable Trust    0.73569%
                                      f/b/o Emma Frankel
                                      38 Circle Drive
                                      Hastings on Hudson, NY 10706
David & Susan Frankel                 38 Circle Drive                      1.10354%
                                      Hastings on Hudson, NY 10706
Giovanni Gentile                      23 Westview Lane                     0.73569%
                                      Stamford, CT 06902
Greenhorn Mesa Partners LTD.          c/o Meshannon and Associates, Inc.   1.47138%
                                      2001 Kirby Drive Suite 504
                                      Houston, TX 77019
Cassandra N. Hendriks                 196 Greenlawn Road                   1.65530%
                                      Cochranville, PA 19330
Paul Mark Kelly                       30 Goodwives River Road              1.47138%                            X
                                      Darien, CT 06820
Pollyann Kelly                        130 Brookline Drive                  1.471380%                           X
                                      Pinehurst, NC 28374
Thomas E. Kelly                       8 Old Rock Lane                      2.57492%                            X
                                      Norwalk, CT 06850
Thomas L. Kelly, Jr. ROTH IRA         PENSCO Trust Company                 3.67845%                            X
                                      1560 Broadway, 46 Floor
                                      Denver, CO 80202
Michael Kirschbaum                    7103 Fresh Pond Road, #A1C           0.36785%
                                      Queens, NY 11385
Robert E. & Elizabeth A. LaBlanc      60 East End Avenue, Apt. 19A New     1.47138%
                                      York NY 10028
Laurence and Karol London             175 East Middle Patent Road          1.47138%
                                      Bedford, NY 10506
Leonard and Leslie London             21697 Old Bridge Trail               2.94276%
JTWROS                                Boca Raton, FL 33428
Andrew Mann Trust Under Article       606 West 113th Street, Apt 6B        1.103535%
Third of the T Mann Rev Trust         New York, NY 10025
u/t/a/d 4/27/10, Andrew Mann, TR
Jonathan Mann Trust                   258 Bedford-Banksville Rd.           1.10354%
                                      Bedford, NY 10506
Andrew Mann                           606 West 113th Street, Apt. 6B       1.04468%
Custodian f/b/o Samuel Mann           New York, NY 10025




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                                     Seaboard Hotel Member Associates, LLC
            Equity Holder                 Address of Equity Holder        Interest     Con-       Un-        Dis-
                                                                        Percentage   tingent   liquidated   puted
C. Donald Martin                     907 Cumberland Ridge Road           1.47138%
                                     Oxford, MS 38655
Rosemary McAllister                  8 Peter Cooper Road #9B             1.47138%
                                     New York, NY 10010
McGuire Family 2012 Irrevocable      1088 Park Avenue, Apt 9E            1.47138%
Trust                                New York, NY 10128
Christopher & Michele Meehan         22 Bridle Trail                     0.36785%
                                     Fairfield, CT 06824
Jack & Fran Meehan                   1011 Pequot Avenue                  1.83923%
                                     Southport, CT 06890
Douglas J. Mello                     66 Milton Road, Apt. D11            1.47138%
                                     Rye, NY 10580
Christine C. Merritt                 83 Brookside Road                   4.41414%                            X
                                     Darien, CT 06820
William A. Merritt, Jr.              83 Brookside Road                   1.10354%                            X
                                     Darien, CT 06820
Robert A. Musumeci                   99 Blackrock Road                   7.35691%
                                     Stamford, CT 06903
Dominic Napolitano                   10 Pasture Lane                     1.83923%
                                     Darien, CT 06820
Beth Meehan Palmer                   10 West 15th Street #1205           0.18392%
                                     New York, NY 10011
Louis Pento                          17 Scranton Street                  0.73569%
                                     Staten Island, NY 10304
Christopher Rich                     3561 Carvins Cove Road              0.45981%
                                     Salem, VA 24153
Priscilla A. Rich Revocable Living   389 Eastview Drive                  0.45981%
Trust                                Boone, NC 28607
Thomas L. Rich                       One Rogers Road                     1.83923%
                                     Stamford, CT 06901
Thomas L. Rich 2012 Trust            222 Summer Street                   0.45980%
                                     Stamford, CT 06901
Richard A. Robustelli                180 Turn of River Road, Apt. 5B     1.47138%
                                     Stamford, CT 06905
Faye Z. Ross                         7118 Lincoln Drive                  0.36785%
                                     Philadelphia, PA 19119
SAV Equities LLC                     c/o Anthony Savarese                1.10354%
                                     30 Drake Avenue
                                     Rye, NY 10580
Lisa Speigel                         11624 NW 52nd Court                 0.12875%
                                     Coral Springs, FL 33076
Gregory V. Stanton                   1086 Westover Road                  0.25749%
                                     Stamford, CT 06901
Marvin A. Stolberg Trust             11253 Boca Woods Lane               1.47138%
                                     Boca Raton, FL 33428
Elizabeth Merritt Strawbridge        3801 Kennett Pike, Suite B-100      1.28746%                            X
                                     Wilmington, DE 19807
Redmond Stewart Strawbridge          3801 Kennett Pike, Suite B-100      2.39100%                            X
                                     Wilmington, DE 19807




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Membership Interests in Park Square West Associates, LLC

                                    Park Square West Associates, LLC
            Equity Holder           Address of Equity Holder         Interest    Con-         Un-
                                                                    Percentage   tinge     liquidate     Dis-
                                                                                   nt          d        puted
Park Square West Member         c/o META Advisors LLC                 100%
Associates, LLC                 101 Park Avenue, 30th Floor
                                New York, NY 10178

Membership Interests in Park Square West Member Associates, LLC
                                Park Square West Member Associates, LLC
            Equity Holder            Address of Equity Holder        Interest      Con-       Un-        Dis-
                                                                    Percentage   tingent   liquidated   puted
Seaboard Realty, LLC            c/o Thomas L. Kelly, Jr.              25.00%                             X
                                130 Brookline Drive
                                Pinehurst, NC 28734

                                 Jeoffrey L. Burtch
                                 P.O. Box 549
                                 Wilmington, DE 19899

                                 Sean T. Greecher
                                 Young Conaway Stargatt & Taylor,
                                 LLP
                                 1000 North King Street
                                 Wilmington, DE 19801
Andrus, Martha R.                2554 Linden Drive                  0.25959%
                                 Boulder, CO 80304-0430
Arrowhead Trust                  f/b/o Christopher O’Connor         4.15334%
                                 P.O. Box 6431
                                 520 Spruce Ridge Lane
                                 Snowmass Village, CO 81615
Andrea O. Burke                  18 Woolsley Avenue                 0.83067%
                                 Trumbull, CT 06611
John M. Callagy                  3 Althea Lane                      0.83067%
                                 Darien, CT 06820
Henry D. Cavanna                 64 Rowayton Avenue                 1.66964%
                                 Rowayton, CT 06853
James D. & Susan C. Cuppini      29 W. 331 Old Wayne Ct.            0.35303%
                                 West Chicago, IL 60185
James D. Cuppini IRA             PENSCO Trust Company               0.68530 %
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202
Kathryn Daly IRA                 PENSCO Trust Company               0. 20767%
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202
Kristen M. Daly IRA              PENSCO Trust Company               0.20767%
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202
Matthew Daly IRA                 PENSCO Trust Company               0.20767%
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202




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                                      Park Square West Member Associates, LLC
            Equity Holder                  Address of Equity Holder         Interest     Con-       Un-        Dis-
                                                                          Percentage   tingent   liquidated   puted
Robert Daly IRA                       PENSCO Trust Company                 0.20767%
                                      1560 Broadway, 4th Floor
                                      Denver, CO 80202
Brian C. DiMenna                      1110 Park Avenue, Apt 3L             0.10383%                            X
                                      Hoboken, NJ 07030
John J. DiMenna, III                  c/o John J. DiMenna, Jr.             0.10383%                            X
                                      9088 Englewood Court
                                      Vero Beach, FL 32963
John J. and M. Lynn DiMenna TIC       9088 Englewood Court                 0.41533%                            X
                                      Vero Beach, FL 32963
Meredith DiMenna                      c/o John J. DiMenna, Jr.             0.10383%                            X
                                      9088 Englewood Court
                                      Vero Beach, FL 32963
Thomas E. DiMenna                     c/o John J. DiMenna, Jr.             0.10383%                            X
                                      9088 Englewood Court
                                      Vero Beach, FL 32963
Jeffrey R. Dunne Revocable Trust      90 Butternut Lane                    2.49200%
                                      Southport, CT 06890
Charles P. and Judith D. Eaton        20 Point Road                        1.24600%
                                      Norwalk, CT 06854
Gilbert H. Engels Jr                  7 Arrow Head Road                    0.41741%
                                      Westport, CT 06880
Gilbert H. Engels 2012 Family Trust   413 Mill Hill Terrace                2.07667%
Anna M Engels & Nicholas              Southport, CT 06890
DiCostanzo, Trustees
Susan R. Epstein                      8 Marvin Street                      2.07667%
                                      Norwalk, CT 06855
William P. Frank                      67 St. Nicholas Road                 1.45367%
                                      Darien, CT 06820
David Frankel Trustee                 The Bud Frankel Irrevocable Trust    0.41533%
                                      f/b/o Alexander Frankel
                                      38 Circle Drive
                                      Hastings on Hudson, NY 10706
David Frankel Trustee                 The Bud Frankel Irrevocable Trust    0.41533%
                                      f/b/o Emma Frankel
                                      38 Circle Drive
                                      Hastings on Hudson, NY 10706
David & Susan Frankel                 38 Circle Drive                      0.62300%
                                      Hastings on Hudson, NY 10706
Samuel B. Fuller                      40 Contentment Island Road           1.66134%
                                      Darien, CT 06890
Emma Graham                           c/o Thomas M. Graham                 0.31150%
                                      275 Willow Street
                                      Southport, CT 06890
John M. Graham                        c/o Thomas M. Graham                 0.31150%
                                      275 Willow Street
                                      Southport, CT 06890

Greenhorn Mesa Partners LTD.          c/o Meshannon and Associates, Inc.   1.24600%
                                      2001 Kirby Drive Suite 504
                                      Houston, TX 77019
Edward T. Hapgood, Jr.                1939 Fairfield Beach Road            1.24600%
                                      Fairfield, CT 06824



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                                   Park Square West Member Associates, LLC
            Equity Holder               Address of Equity Holder         Interest     Con-       Un-        Dis-
                                                                       Percentage   tingent   liquidated   puted
T. Peter Harding                   5 Poppy Lane                         1.24600%
                                   Glen Cove, NY 11542
Kelly 2007 Family Trust            100 Old Windmill Road                0.20767%                            X
James A. Ross, Trustee             Clarks Summit, PA 18411
Pollyann Kelly                     130 Brookline Drive                  0.83067%                            X
                                   Pinehurst, NC 28374
Thomas E. Kelly                    8 Old Rock Lane                      0.93450%                            X
                                   Norwalk, CT 06850
TLK Seaboard Investments, LLC      c/o Thomas L. Kelly, Jr., Manager    4.15335%                            X
                                   130 Brookline Drive
                                   Pinehurst, NC 28374
Robert E. & Elizabeth A. LaBlanc   60 East End Avenue, Apt. 19A         0.83067%
                                   New York NY 10028
Laurence and Karol London          175 East Middle Patent Road          0.83067%
                                   Bedford, NY 10506
Leonard and Leslie London          21697 Old Bridge Trail               1.66134%
JTWROS                             Boca Raton, FL 33428
Sharon L. Mahar                    104 Coddington Lane                  0.41533%
                                   Millbrook, NY 12545
Andrew Mann Trust Under Article    606 West 113th Street, Apt. 6B       0.62300%
Third of the T Mann Rev Trust      New York, NY 10025
u/t/a/d 4/27/10, Andrew Mann,
TR
Jonathan Mann Trust                258 Bedford-Banksville Rd.          0.62300%
                                   Bedford, NY 10506
C. Donald Martin                   907 Cumberland Ridge Road           1.24600%
                                   Oxford, MS 38655
Rosemary McAllister                8 Peter Cooper Road #9B             1.66964%
                                   New York, NY 10010
McGuire Family 2012 Irrevocable    1088 Park Avenue, Apt 9E            1.03834%
Trust                              New York, NY 10128
Christopher & Michele Meehan       22 Bridle Trail                     020767%
                                   Fairfield, CT 06824
Jack & Fran Meehan                 1011 Pequot Avenue                  1.03834%
                                   Southport, CT 06890
Douglas J. Mello                   66 Milton Road, Apt. D11            0.83067%
                                   Rye, NY 10580
John D. & Regina L. Mello          4 Woodhill Road                     1.03834%
                                   Westport, CT 06880
Brian E. Merritt                   P.O. Box 12791                      0.14380%                             X
                                   3165 Pitchfork Drive
                                   Jackson, WY 83002
Christine C. Merritt               83 Brookside Road                   1.46134%                             X
                                   Darien, CT 06820
W. Tyler Merritt                   Black Diamond Equipment             0.43320%                             X
                                   142 Cochran Road
                                   Richmond, VT 05477
William A. Merritt, Jr.            83 Brookside Road                   0.03833%                             X
                                   Darien, CT 06820
Robert A. Musumeci                 99 Blackrock Road                   5.19168%
                                   Stamford, CT 06903
Dominic Napolitano                 10 Pasture Lane                     1.03834%
                                   Darien, CT 06820



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                                    Park Square West Member Associates, LLC
            Equity Holder                Address of Equity Holder         Interest     Con-       Un-        Dis-
                                                                        Percentage   tingent   liquidated   puted
Thomas E. O’Connor                  P.O. Box 6431                        6.23001%
                                    520 Spruce Ridge Lane
                                    Snowmass Village, CO 81615
Beth Meehan Palmer                  10 West 15th Street #1205            0.10383%
                                    New York, NY 10011
Louis Pento                         17 Scranton Street                   0.31150%
                                    Staten Island, NY 10304
Radha Ramaswamy                     326 Prospect Avenue, Apt. 12K        0.83067%
                                    Hackensack, NY 07601
Christopher Rich                    3561 Carvins Cove Road               0.25958%
                                    Salem, VA 24153
Pricilla A. Rich Revocable Living   389 Eastview Drive                   0.25959%
Trust                               Boone, NC 28607
Thomas L. Rich                      One Rogers Road                      2.07667%
                                    Stamford, CT 06901
Thomas L. Rich 2012 Trust           222 Summer Street                    0.25958%
                                    Stamford, CT 06901
Richard A. Robustelli               180 Turn of River Road, Apt 5B       1.66134%
                                    Stamford, CT 06905
Faye Z. Ross                        7118 Lincoln Drive                   0.20871%
                                    Philadelphia, PA 19119
James A. Ross                       100 Old Windmill Road                0.24920%
                                    Clarks Summit, PA 18411
Dr. Allen B. Rothpearl              9 Crabtree Lane                      1.03834%
                                    Roslyn, NY 11576
Norla Rothpearl                     1375 Cedar Bay Road                  2.90734%
                                    Jacksonville, FL 32218
SAV Equities LLC                    c/o Anthony Savarese                 0.62300%
                                    30 Drake Avenue
                                    Rye, NY 10580
Michael E. Shannon                  c/o Greenhorn Mesa Partners          0.83067%
                                    2001 Kirby Drive Suite 504
                                    Houston, TX 77019
David H. and Janet M. Soskin        10 Dellwood Road                     0.83067%
                                    Darien, CT 06820
Lisa Speigel                        11624 NW 52nd Court                  0.07268%
                                    Coral Springs, FL 33076
Gregory V. Stanton                  1086 Westover Road                   0.20974%
                                    Stanford, CT 06905
Marvin A. Stolberg Trust            11253 Boca Woods Lane                0.83067%
                                    Boca Raton, FL 33428
Elizabeth Merritt Strawbridge       7 Cloyster Street                    0.41533%                            X
                                    South Portland, ME 04106
Redmond Stewart Strawbridge         3801 Kennett Pike, Suite B-100       0.62300%                            X
                                    Wilmington, DE 19807




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Membership Interests in 88 Hamilton Avenue Associates, LLC

                                       88 Hamilton Avenue Associates, LLC
                                                                                      Con-         Un-
                                                                          Interest    tinge     liquidate     Dis-
         Equity Holder                   Address of Equity Holder        Percentage     nt          d        puted
88 Hamilton Avenue Member           c/o META Advisors LLC                  100%
Associates, LLC                     101 Park Avenue, 30th Floor
                                    New York, NY 10178


Membership Interests in 88 Hamilton Avenue Member Associates, LLC

                                88 Hamilton Avenue Member Associates, LLC
                                                                          Interest     Con-        Un-        Dis-
         Equity Holder                    Address of Equity Holder       Percentage   tingent   liquidated   puted
Seaboard Realty, LLC                 c/o Thomas L. Kelly, Jr.             25.00%                              X
                                     130 Brookline Drive
                                     Pinehurst, NC 28734

                                     Jeoffrey L. Burtch
                                     P.O. Box 549
                                     Wilmington, DE 19899

                                     Sean T. Greecher
                                     Young Conaway Stargatt & Taylor,
                                     LLP
                                     1000 North King Street
                                     Wilmington, DE 19801
Marilyn J. Birdsall                  60 Indian Head. Road                1.57205%
Trustee of the Estate Tax Shelter    Riverside, CT 06878
Trust
Marilyn J. Birdsall IRA              PENSCO Trust Company                1.04803%
                                     1560 Broadway, 4th Floor
                                     Denver, CO 80202-3308
Estate of Robert M. Daly Matthew     304 West 112th Street, Apt. 3R      1.31004%
C. Daly, Administrator               New York, NY 10026
John J. DiMenna, Jr.                 9088 Englewood Court                1.768550%                            X
                                     Vero Beach, FL 32963
Charles P. Eaton                     20 Point Road                       5.24017%
                                     Norwalk, CT 06854
Gilbert H. Engels 2012 Family        413 Mill Hill Terrace               4.58515%
Trust                                Southport, CT 06890
Anna M. Engels & Nicholas
DiCostanzo, Trustees
Alvin J. Epstein                     8 Marvin Street                     1.96507%
                                     Norwalk, CT 06855
Edward T. Hapgood, Jr.               1939 Fairfield Beach Road           2.62009%
                                     Fairfield, CT 06824
Patricia C. Harding IRSA             PENSCO Trust Company                     0%
                                     1560 Broadway, 4th Floor
                                     Denver, CO 80202-3308
Paul Martin Kelly IRSA               PENSCO Trust Company                3.60262%                             X
                                     1560 Broadway, 4th Floor
                                     Denver, CO 80202-3308



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                              88 Hamilton Avenue Member Associates, LLC
                                                                           Interest    Con-        Un-        Dis-
           Equity Holder                  Address of Equity Holder       Percentage   tingent   liquidated   puted
Pensco Trust Company                 5 Poppy Lane                        2.620090%
f/b/o T. Peter Harding IRA           Glen Cove, NY 11542
Pollyann Kelly                       130 Brookline Drive                 4.58515%                             X
                                     Pinehurst, NC 28374
TLK Seaboard Investments, LLC        c/o Thomas L. Kelly, Jr., Manager   9.82533%                             X
                                     130 Brookline Drive
                                     Pinehurst, NC 28374
Robert E. LaBlanc                    60 East End Avenue, Apartment 19A   2.62009%
                                     New York, NY 10028
Leonard & Leslie London              21697 Old Bridge Trail              5.24017%
                                     Boca Raton, FL 33428
Andrew Mann, Custodian               606 West 113th Street, Apt. 6B      0.170310%
f/b/o Benjamin Mann                  New York, NY 10025
Andrew Mann, Custodian               606 West 113th Street, Apt. 6B      0.170310%
f/b/o Clementine Mann                New York, NY 10025
Andrew Mann, Custodian               606 West 113th Street, Apt. 6B      0.170310%
f/b/o Samuel Mann                    New York, NY 10025
Andrew Mann Trust Under Article      606 West 113th Street, Apt. 6B      0.491265%
Third of the T Mann Rev Trust        New York, NY 10025
u/t/a/d 4/27/10, Andrew Mann, TR
Dakota Mann                          258 Bedford-Banksville Rd.          0.170310%
Jonathan Mann, Custodian             Bedford, NY 10506
Jackson Dylan Mann                   258 Bedford-Banksville Rd.          0.170310%
Jonathan Mann, Custodian             Bedford, NY 10506
Jonathan Mann                        258 Bedford-Banksville Rd.          0.327510%
                                     Bedford, NY 10506
Jonathan Mann Trust Under Article    258 Bedford-Banksville Rd.          0.491265%
Third of the T Mann Rev Trust        Bedford, NY 10506
u/t/a/d 4/27/10, Jonathan Mann, TR
C. Donald Martin                     907 Cumberland Ridge Road           1.31004%
                                     Oxford, MS 38655
Rosemary McAllister                  8 Peter Cooper Road #9B             2.62009%
                                     New York, NY 10010-6719
McGuire Family 2012 Irrevocable      1088 Park Avenue, Apartment 9E      2.62009%
Trust                                New York, NY 10128
Judith S. McGuire, Trustee
Christopher & Michele Meehan         22 Bridle Trail                     0.32751%
                                     Fairfield, CT 06824
Jack & Fran Meehan                   1011 Pequot Avenue                  2.62009%
                                     Southport, CT 06890
Douglas J. Mello                     66 Milton Road, Apartment D11       2.62009%
                                     Rye, NY 10580
Christine C. Merritt                 83 Brookside Road                   3.60262%                             X
                                     Darien, CT 06820
W. Tyler Merritt                     Black Diamond Equipment             1.68502%                             X
                                     142 Cochran Road
                                     Richmond, VT 05477
William A. Merritt, Jr.              83 Brookside Road                   1.26258%                             X
                                     Darien, CT 06820
Beth Meehan Palmer                   10 West 15th Street #1205           0.32751%
                                     New York, NY 10011



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                                88 Hamilton Avenue Member Associates, LLC
                                                                             Interest    Con-        Un-        Dis-
        Equity Holder                     Address of Equity Holder         Percentage   tingent   liquidated   puted
SAV Equities, LLC                    Attn: Anthony J. Savarese              1.31004%
                                     30 Drake Avenue
                                     Rye, NY 10580
David H. and Janet M. Soskin         10 Dellwood Road                       2.6200%
                                     Darien, CT 06820
Jeno Szeredas Trust                  130 Brookline Drive                        0%
Pollyann Kelly, Trustee              Pinehurst, NC 28374
Pauline P. Szeredas TR, Dated        c/o Polyann Kelly                     1.310040%
4/9/99                               130 Brookline Drive
                                     Pinehurst, NC 28374




Membership Interests in PSWMA I, LLC

                                                    PSWMA I, LLC
            Equity Holder                Address of Equity Holder          Interest       Con-       Un-        Dis-
                                                                          Percentage    tingent   liquidated   puted
 PSWMA II, LLC                      c/o META Advisors LLC                   100%
                                    101 Park Avenue, 30th Floor
                                    New York, NY 10178

Membership Interests in PSWMA II, LLC

                                                 PSWMA II, LLC
            Equity Holder                Address of Equity Holder          Interest       Con-       Un-        Dis-
                                                                          Percentage    tingent   liquidated   puted
Seaboard Realty, LLC                c/o Thomas L. Kelly, Jr.                100%                                X
                                    130 Brookline Drive
                                    Pinehurst, NC 28734

                                    Jeoffrey L. Burtch
                                    P.O. Box 549
                                    Wilmington, DE 19899

                                    Sean T. Greecher
                                    Young Conaway Stargatt & Taylor,
                                    LLP
                                    1000 North King Street
                                    Wilmington, DE 19801




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Fill in this information to identify the case and this filing:


Debtor Name Seaboard Hotel Member Associates, LLC et al.

United States Bankruptcy Court for the: District of Delaware
                                                                                  (State)
Case number 15-12510 (LSS)




               Official Form 202
               Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15
               An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
               must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
               declaration that is not included in the document, and any amendments of those documents. This form must state the
               individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
               and 9011.

               WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
               property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
               years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Declaration and signature



               I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
               another individual serving as a representative of the debtor in this case.

               I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
               correct:
               □       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               □       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               □       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               □       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               □       Schedule H: Codebtors (Official Form 206H)
               □       Summary of Assets and Liabilities for Non-Individuals Official Form 206Sum)
               □       Amended Schedule ____
               □       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               □       Other document that requires a declaration: Equity Holder Lists


               I declare under penalty of perjury that the foregoing is true and correct.

               Executed on       01/10/2018
                                 MM / DD / YYYY

      ×        /s/ James D. Hunt                                                             James D. Hunt
               Signature of authorized representative of debtor                               Printed name

               Title       Chief Operating Officer, META Advisors LLC, not
                           individually, but solely as Investor Trustee of the
                           NCA Investors’ Liquidating Trust




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Membership Interests in Seaboard Hotel Member Associates, LLC
                                   Seaboard Hotel Member Associates, LLC
         Equity Holder           Address of Equity Holder      Interest Percentage   Con-       Un-      Dis-
                                                                                     tinge   liquidate   pute
                                                                                       nt        d        d
Seaboard Realty, LLC           1 Atlantic Street                      25.00%                              X
                               Stamford, CT 06901c/o Thomas
                               Kelly
                               130 Brookline Drive
                               Pinehurst, NC 28374

                               Jeoffrey L. Burtch
                               P.O. Box 549
                               Wilmington, DE 19899

                               Sean T. Greecher
                               Young Conaway Stargatt &
                               Taylor, LLP
                               1000 North King Street
                               Wilmington, DE 19801
Martha R. Andrus               2554 Linden Drive                     0.45981%
                               Boulder, CO 80304-0430
John M. Callagy                3 Althea Lane                         0.73569%
                               Darien, CT 06820
Vincent C. And Julie A.        191 Gerdes Road                       0.73569%
Cavaliere                      New Cannaan, CT 06840
Brian C. DiMenna               1110 Park Avenue, Apt 3L              0.18392%                             X
                               Hoboken, NJ 07030
John J. DiMenna, III           c/o John J. DimMenna, Jr.             0.18392%                             X
                               9088 Englewood Court
                               Vero Beach, FL 3296319
                               Rockwell Lane
                               Darien, CT 06820
M. Lynn DiMenna                9088 Englewood Court                  0.36784%                             X
                               Vero Beach, FL 3296319
                               Rockwell Lane
                               Darien, CT 06820
Meredith DiMenna               25 Grand Street, Unit 239             0.18392%                             X
                               Norwalk, CT 06851c/o John J.
                               DiMenna, Jr.
                               9088 Englewood Court
                               Vero Beach, FL 32963
Thomas E. DiMenna              c/o John J. DimMenna, Jr.             0.18392%                             X
                               9088 Englewood Court
                               Vero Beach, FL 3296319
                               Rockwell Lane
                               Darien, CT 06820
CSD Holdings, LLC -             CSD Holdings, LLC                    0.36785%
Christopher Durfee             c/o Merrill Lynch Attn:
                               Caroline WallWells Fargo Adv-
                               Acct #4938-4116
                                38 East Main Street
                               Attn: Alan Sylvestre
                               86 Denison Avenue, Suite 1
                               Mystic, CT 06355



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                                     Seaboard Hotel Member Associates, LLC
         Equity Holder             Address of Equity Holder      Interest Percentage   Con-       Un-      Dis-
                                                                                       tinge   liquidate   pute
                                                                                         nt        d        d
William A. Durkin, III           68 Peach Hill Road                    0.36785%
                                 Darien, CT 06820
Charles P. and Judith D. Eaton   20 Point Road                         2.20707%
                                 Norwalk, CT 06854
Gilbert H. Engels 2012 Family    413 Mill Hill Terrace                 4.78199%
Trust                            Southport, CT 06890
Anna M Engels & Nicholas
DiCostanzo, Trustees
Alvin J. Epstein                 8 Marvin Street                       1.47138%
                                 Norwalk, CT 06855
William P. Frank                 67 StreetSt. Nicholas Road            2.20707%
                                 Darien, CT 06820
David Frankel Trustee            The Bud Frankel Irrevocable           0.73569%
                                 Trust
                                 f/b/o Alexander Frankel
                                 38 Circle Drive
                                 Hastings on Hudson, NY 10706
David Frankel Trustee            The Bud Frankel Irrevocable           0.73569%
                                 Trust
                                 f/b/o Emma Frankel
                                 38 Circle Drive
                                 Hastings on Hudson, NY 10706
David & Susan Frankel            38 Circle Drive                       1.10354%
                                 Hastings on Hudson, NY 10706
Giovanni Gentile                 23 Westview Lane                      0.73569%
                                 Stamford, CT 06902
Greenhorn Mesa Partners          c/o Meshannon and Associates,         1.47138%
LTD.                             Inc.
                                 2001 Kirby Drive Suite 607504
                                 Houston, TX 77019
Cassandra N. Hendriks            196 Greenlawn Road                    1.65530%
                                 Cochranville, PA 19330
Paul Mark Kelly                  300 Goodwives River Road              1.47138%                             X
                                 Darien, CT 06820
Pollyann Kelly                   130 Brookline Drive                   1.471380%                            X
                                 Pinehurst, NC 28374
Thomas E. Kelly                  11 Parish8 Old Rock Lane           1.471382.57492%                         X
                                 New CannanNorwalk, CT
                                 068450
Thomas L. Kelly, Jr. ROTH        PENSCO Trust Company               2.574923.67845%                         X
IRA                              1560 Broadway, 4th46 Floor
                                 Denver, CO 80202
Michael Kirschbaum               7103 Fresh Pond Road, #A1C         3.678450.36785%
                                 Queens, NY 11385
Robert E. & Elizabeth A.         60 East End Avenue, Apt. 19A       0.367851.47138%
LaBlanc                          New York NY 10028
Laurence and Karol London        175 East Middle Patent Road           1.47138%
                                 Bedford, NY 10506
Leonard and Leslie London        21697 Old RBridge Trail            1.471382.94276%
JTWROS                           Boca Raton, FL 33428
Andrew Mann Trust Under          606 West 113th Street, Apt 6B      2.942761.103535%
Article Third of the T Mann      c/o Jonathan Mann



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                                   Seaboard Hotel Member Associates, LLC
         Equity Holder           Address of Equity Holder      Interest Percentage        Con-       Un-      Dis-
                                                                                          tinge   liquidate   pute
                                                                                            nt        d        d
Rev Trust u/t/a/d 4/27/10,     23 Woodland Road
Andrew Mann, TR                BedfordNew York, NY 10506
                               10025
Jonathan Mann Trust            23 Woodland Road                           1.10354%
                               258 Bedford-Banksville Rd.
                               Bedford, NY 10506
Andrew Mann Custodian          606 West 113th Street, Apt. 6B          1.103541.04468%
Custodian f/b/o Samuel Mann    f/b/o Samuel Mann
                               c/o Jonathan Mann
                               23 Woodland Road
                               BedfordNew York, NY 10506
                               10025
C. Donald Martin               907 Cumberland Ridge Road               1.044681.47138%
                               Oxford, MS 38655
Rosemary McAllister            8 Peter Cooper Road #9B                    1.47138%
                               New York, NY 10010
McGuire Family 2012            1088 Park Avenue, Apt 9E                   1.47138%
Irrevocable Trust              New York, NY 10128
Christopher & Michele          22 Bridle Trail                            0.36785%
Meehan                         Fairfield, CT 06824
Jack & Fran Meehan             1011 Pequot Avenue                         1.83923%
                               Southport, CT 06890
Douglas J. Mello               66 Milton Road, Apt. D11                   1.47138%
                               Rye, NY 10580
Christine C. Merritt           83 Brookside Road                          4.41414%                             X
                               Darien, CT 06820
William A. Merritt, Jr.        83 Brookside Road                          1.10354%                             X
                               Darien, CT 06820
Robert A. Musumeci             99 Blackrock Road                          7.35691%
                               Stamford, CT 06903
Dominic Napolitano             10 Pasture Lane                            1.83923%
                               Darien, CT 06820
Beth Meehan Palmer             10 West 15th Street #1205                  0.18392%
                               New York, NY 10011
Louis Pento                    17 Scranton Street                         0.73569%
                               Staten Island, NY 10304
Christopher Rich               3561 Carvins Cove Road                     0.45981%
                               Salem, VA 24153
Priscilla A. Rich Revocable    389 Eastview Drive                         0.45981%
Living Trust                   Boone, NC 28607
Thomas L. Rich                 One Rogers Road                            1.83923%
                               Stamford, CT 06901
Thomas L. Rich 2012 Trust      222 Summer Street                          0.45980%
                               Stamford, CT 06901
Richard A. Robustelli          31 Eastover180 Turn of River               1.47138%
                               Road, Apt. 5B
                               Stamford, CT 06905
Faye Z. Ross                   71887118 Lincoln Drive                     0.36785%
                               Philadelphia, PA 19119
SAV Equities LLC               c/o Anthony Savarese                       1.10354%
                               30 Drake Avenue
                               Rye, NY 10580



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                                    Seaboard Hotel Member Associates, LLC
         Equity Holder            Address of Equity Holder      Interest Percentage    Con-       Un-      Dis-
                                                                                       tinge   liquidate   pute
                                                                                         nt        d        d
Lisa Speigel                    11624 NW 52nd Court                    0.12875%
                                Coral Springs, FL 33076
Gregory V. Stanton              14 Pryer Lane1086 Westover             0.25749%
                                Road
                                Larchmont, NY 10538Stamford,
                                CT 06901
Marvin A. Stolberg Trust        11253 Boca Woods Lane                  1.47138%
                                Boca Raton, FL 33428
Elizabeth Merritt Strawbridge   3801 Kennett Pike, Suite B-100         1.28746%                             X
                                Wilmington, DE 19807
Redmond Stewart Strawbridge     3801 Kennett Pike, Suite B-100         2.39100%                             X
                                Wilmington, DE 19807

Membership Interests in Park Square West Member Associates, LLC
                                   Park Square West Member Associates, LLC
         Equity Holder            Address of Equity Holder     Interest Percentage     Con-       Un-      Dis-
                                                                                       tinge   liquidate   pute
                                                                                         nt        d        d
Seaboard Realty, LLC            1 Atlantic Street                       25.00%                              X
                                Stamford, CT 06901c/o
                                Thomas L. Kelly, Jr.
                                130 Brookline Drive
                                Pinehurst, NC 28734

                                Jeoffrey L. Burtch
                                P.O. Box 549
                                Wilmington, DE 19899

                                Sean T. Greecher
                                Young Conaway Stargatt &
                                Taylor, LLP
                                1000 North King Street
                                Wilmington, DE 19801
Andrus, Martha R.               2554 Linden Drive                      0.25959%
                                Boulder, CO 80304-0430
Arrowhead Trust                 f/b/o Christopher O’Connor             4.15334%
                                P.O. Box 6431
                                520 Spruce Ridge Lane
                                Snowmass Village, CO 81615
Andrea O. Burke                 18 Woolsley Avenue                     0.83067%
                                Trumbull, CT 06611
John M. Callagy                 3 Althea Lane                          0.83067%
                                Darien, CT 06820
Henry D. Cavanna                64 Rowayton Avenue                     1.66964%
                                Rowayton, CT 06853
James D. & Susan C. Cuppini     29 W. 331 Old Wayne Ct.                0.35303%
                                West Chicago, IL 60185
James D. Cuppini IRA            PENSCO Trust Company                   0.68530 %
                                1560 Broadway, 4th Floor
                                Denver, CO 80202
Kathryn Daly IRA                PENSCO Trust Company                  0. 0.20767%
                                1560 Broadway, 4th Floor



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                                    Park Square West Member Associates, LLC
         Equity Holder             Address of Equity Holder     Interest Percentage   Con-       Un-      Dis-
                                                                                      tinge   liquidate   pute
                                                                                        nt        d        d
                                 Denver, CO 80202
Kristen M. Daly IRA              PENSCO Trust Company                 0.20767%
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202
Matthew Daly IRA                 PENSCO Trust Company                 0.20767%
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202
Robert Daly IRA                  PENSCO Trust Company                 0.20767%
                                 1560 Broadway, 4th Floor
                                 Denver, CO 80202
Brian C. DiMenna                 1110 Park Avenue, Apt 3L             0.10383%                             X
                                 Hoboken, NJ 07030
John J. DiMenna, III             c/o John J. DimMenna, Jr.            0.10383%                             X
                                 9088 Englewood Court
                                 Vero Beach, FL 3296319
                                 Rockwell Lane
                                 Darien, CT 06820
John J. and M. Lynn DiMenna      9088 Englewood Court                 0.41533%                             X
TIC                              Vero Beach, FL 3296319
                                 Rockwell Lane
                                 Darien, CT 06820
Meredith DiMenna                 25 Grand Street, Unit 239            0.10383%                             X
                                 Norwalk, CT 06851c/o John J.
                                 DiMenna, Jr.
                                 9088 Englewood Court
                                 Vero Beach, FL 32963
Thomas E. DiMenna                c/o John J. DimMenna, Jr.            0.10383%                             X
                                 9088 Englewood Court
                                 Vero Beach, FL 3296319
                                 Rockwell Lane
                                 Darien, CT 06820
Jeffrey R. Dunne Revocable       90 Butternut Lane                    2.49200%
Trust                            Southport, CT 06890
Charles P. and Judith D. Eaton   20 Point Road                        1.24600%
                                 Norwalk, CT 06854
Gilbert H. Engels Jr             7 Arrow Head Road                    0.41741%
                                 Westport, CT 06880
Gilbert H. Engels 2012 Family    413 Mill Hill Terrace                2.07667%
Trust Anna M Engels &            Southport, CT 06890
Nicholas DiCostanzo, Trustees
Susan R. Epstein                 8 Marvin Street                      2.07667%
                                 Norwalk, CT 06855
William P. Frank                 67 StreetSt. Nicholas Road           1.45367%
                                 Darien, CT 06820
David Frankel Trustee            The Bud Frankel Irrevocable          0.41533%
                                 Trust
                                 f/b/o Alexander Frankel
                                 38 Circle Drive
                                 Hastings on Hudson, NY 10706
David Frankel Trustee            The Bud Frankel Irrevocable          0.41533%
                                 Trust
                                 f/b/o Emma Frankel



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                                 Park Square West Member Associates, LLC
         Equity Holder          Address of Equity Holder     Interest Percentage     Con-       Un-      Dis-
                                                                                     tinge   liquidate   pute
                                                                                       nt        d        d
                              38 Circle Drive
                              Hastings on Hudson, NY 10706
David & Susan Frankel         38 Circle Drive                        0.62300%
                              Hastings on Hudson, NY 10706
Samuel B. Fuller              40 Contentment Island Road             1.66134%
                              Darien, CT 06890
Emma Graham                   c/o Thomas M. Grahamm                  0.31150%
                              275 Willow Street
                              Southport, CT 06890
John M. Graham                c/o Thomas M. Graham                   0.31150%
                              275 Willow Street
                              Southport, CT 06890

Greenhorn Mesa Partners       c/o Meshannon and Associates,          1.24600%
LTD.                          Inc.
                              2001 Kirby Drive Suite 607504
                              Houston, TX 77019
Edward T. Hapgood, Jr.        1939 Fairfield Beach Road              1.24600%
                              Fairfield, CT 06824
T. Peter Harding              5 Poppy Lane                           1.24600%
                              Glen Cove, NY 11542
Kelly 2007 Family Trust       100 Old Windmill Road                  0.20767%                             X
James A. Ross, Trustee        Clarks Summit, PA 18411
Pollyann Kelly                130 Brookline Drive                    0.83067%                             X
                              Pinehurst, NC 28374
Thomas E. Kelly               11 Parish8 Old Rock Lane               0.93450%                             X
                              New CanaanNorwalk, CT
                              068450
TLK Seaboard Investments,     c/o Thomas L. Kelly, Jr.,              4.15335%                             X
LLC                           Manager
                              130 Brookline Drive
                              Pinehurst, NC 28374
Robert E. & Elizabeth A.      60 East End Avenue, Apt. 19A           0.83067%
LaBlanc                       New York NY 10028
Laurence and Karol London     175 East Middle Patent Road            0.83067%
                              Bedford, NY 10506
Leonard and Leslie London     21697 Old RBridge Trail                1.66134%
JTWROS                        Boca Raton, FL 33428
Sharon L. Mahar               104 Coddington Lane                    0.41533%
                              Millbrook, NY 12545
Andrew Mann Trust Under       606 West 113th Street, Apt. 6B         0.62300%
Article Third of the T Mann   c/o Jonathan Mann
Rev Trust u/t/a/d 4/27/10,    23 Woodland Road
Andrew Mann, TR               BedfordNew York, NY 10506
                              10025
Jonathan Mann Trust           23 Woodland Road                       0.62300%
                              258 Bedford-Banksville Rd.
                              Bedford, NY 10506
C. Donald Martin              907 Cumberland Ridge Road              1.24600%
                              Oxford, MS 38655
Rosemary McAllister           8 Peter Cooper Road #9B                1.66964%
                              New York, NY 10010



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                                  Park Square West Member Associates, LLC
         Equity Holder           Address of Equity Holder     Interest Percentage    Con-       Un-      Dis-
                                                                                     tinge   liquidate   pute
                                                                                       nt        d        d
McGuire Family 2012            1088 Park Avenue, Apt 9E              1.03834%
Irrevocable Trust              New York, NY 10128
Christopher & Michele          22 Bridle Trail                       0.20767%
Meehan                         Fairfield, CT 06824
Jack & Fran Meehan             1011 Pequot Avenue                    1.03834%
                               Southport, CT 06890
Douglas J. Mello               66 Milton Road, Apt. D11              0.83067%
                               Rye, NY 10580
John D. & Regina L. Mello      4 Woodhill Road                       1.03834%
                               Westport, CT 06880
Brian E. Merritt               P.O. Box 12791                        0.14380%                             X
                               3165 Pitchfork Drive
                               Jackson, WY 83002
Christine C. Merritt           83 Brookside Road                     1.46134%                             X
                               Darien, CT 06820
W. Tyler Merritt               Black Diamond Equipment               0.43320%                             X
                               142 Cochran Road
                               Richmond, VT 05477
William A. Merritt, Jr.        83 Brookside Road                     0.03833%                             X
                               Darien, CT 06820
Robert A. Musumeci             99 Blackrock Road                     5.19168%
                               Stamford, CT 06903
Dominic Napolitano             10 Pasture Lane                       1.03834%
                               Darien, CT 06820
Thomas E. O’Connor             P.O. Box 6431                         6.23001%
                               520 Spruce Ridge Lane
                               Snowmass Village, CO 81615
Beth Meehan Palmer             10 West 15th Street #1205             0.10383%
                               New York, NY 10011
Louis Pento                    17 Scranton Street                    0.31150%
                               Staten Island, NY 10304
Radha Ramaswamy                326 Prospect Avenue, Apt. 12K         0.83067%
                               Hackensack, NY 07601
Christopher Rich               3561 Carvins Cove Road                0.25958%
                               Salem, VA 24153
Pricilla A. Rich Revocable     389 Eastview Drive                    0.25959%
Living Trust                   Boone, NC 28607
Thomas L. Rich                 One Rogers Road                       2.07667%
                               Stamford, CT 06901
Thomas L. Rich 2012 Trust      222 Summer Street                     0.25958%
                               Stamford, CT 06901
Richard A. Robustelli          31 Eastover180 Turn of River          1.66134%
                               Road, Apt 5B
                               Stamford, CT 06905
Faye Z. Ross                   71887118 Lincoln Drive                0.20871%
                               Philadelphia, PA 19119
James A. Ross                  100 Old Windmill Road                 0.24920%
                               Clarks Summit, PA 18411
Dr. Allen B. Rothpearl         9 Crabtree Lane                       1.03834%
                               Roslyn, NY 11576
Norla Rothpearl                12314 Dunwoody Drive                  2.90734%
                               1375 Cedar Bay Road



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                                    Park Square West Member Associates, LLC
         Equity Holder             Address of Equity Holder     Interest Percentage      Con-       Un-      Dis-
                                                                                         tinge   liquidate   pute
                                                                                           nt        d        d
                                Jacksonville, FL 3222532218
SAV Equities LLC                c/o Anthony Savarese                    0.62300%
                                30 Drake Avenue
                                Rye, NY 10580
Michael E. Shannon              c/o Greenhorn Mesa Partners             0.83067%
                                20112001 Kirby Drive Suite 504
                                Houston, TxTX 77019
David H. and Janet M. Soskin    10 Dellwood Road                        0.83067%
                                Darien, CT 06820
Lisa Speigel                    11624 NW 52nd Court                     0.07268%
                                Coral Springs, FL 33076
Gregory V. Stanton              14 Pryer Lane1086 Westover              0.20974%
                                Road
                                Larchmont, NY 10538Stanford,
                                CT 06905
Marvin A. Stolberg Trust        11253 Boca Woods Lane                   0.83067%
                                Boca Raton, FL 33428
Elizabeth Merritt Strawbridge   7 Cloyster Street                       0.41533%                              X
                                South Portland, ME 04106
Redmond Stewart Strawbridge     3801 Kennett Pike, Suite B-100          0.62300%                              X
                                Wilmington, DE 19807


Membership Interests in 88 Hamilton Avenue Member Associates, LLC

                           88 Hamilton Member Avenue Member Associates, LLC
                                                                                         Con-       Un-      Dis-
                                                                                         tinge   liquidate   pute
      Equity Holder                Address of Equity Holder        Interest Percentage     nt        d        d
Seaboard Realty, LLC            1 Atlantic Street, 4th Floor             25.00%                               X
                                Stamford, CT 06901c/o Thomas
                                L. Kelly, Jr.
                                130 Brookline Drive
                                Pinehurst, NC 28734

                                Jeoffrey L. Burtch
                                P.O. Box 549
                                Wilmington, DE 19899

                                Sean T. Greecher
                                Young Conaway Stargatt &
                                Taylor, LLP
                                1000 North King Street
                                Wilmington, DE 19801
 Marilyn J. Birdsall            60 Indian Head. Road                   1.57205%
 Trustee of the Estate Tax      Riverside, CT 06878
 Shelter
Trust
Marilyn J. Birdsall IRA         PENSCO Trust Company                   1.04803%
                                1560 Broadway, 4th Floor
                                Denver, CO 80202-3308
Estate of Robert M. Daly        304 West 112th Street, Apt. 3R         1.31004%
Matthew C. Daly,                155 East 34th Street, Apartment


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                           88 Hamilton Member Avenue Member Associates, LLC
                                                                                        Con-       Un-      Dis-
                                                                                        tinge   liquidate   pute
       Equity Holder             Address of Equity Holder         Interest Percentage     nt        d        d
Administrator                  4V New York, NY 100126
John J. DiMenna, Jr.           9088 Englewood Court                   1.768550%                              X
                               Vero Beach, FL 32963
Charles P. Eaton               20 Point Road                          5.24017%
                               Norwalk, CT 06854
Gilbert H. Engels 2012         413 Mill Hill Terrace                  4.58515%
Family Trust                   Southport, CT 06890
Anna M. Engels & Nicholas
DiCostanzo, Trustees
Alvin J. Epstein               8 Marvin Street                        1.96507%
                               Norwalk, CT 06855
Edward T. Hapgood, Jr.         1939 Fairfield Beach Road              2.62009%
                               Fairfield, CT 06824
Patricia C. Harding IRSA       PENSCO Trust Company                   2.620090%
                               1560 Broadway, 4th Floor
                               Denver, CO 80202-3308
Paul Martin Kelly IRSA         PENSCO Trust Company                   3.60262%                               X
                               1560 Broadway, 4th Floor
                               Denver, CO 80202-3308
Pensco Trust Company           5 Poppy Lane                           2.620090%
f/b/o T. Peter Harding IRA     Glen Cove, NY 11542
Pollyann Kelly                 130 Brookline Drive                    4.58515%                               X
                               Pinehurst, NC 28374
TLK Seaboard Investments,      c/o Thomas L. Kelly, Jr.,              9.82533%                               X
LLC                            Manager
                               130 Brookline Drive
                               Pinehurst, NC 28374
Robert E. LaBlanc              60 East End Avenue, Apartment          2.62009%
                               19A New York, NY 10028
Leonard & Leslie London        21697 Old Bridge TilTrail              5.24017%
                               Boca Raton, FL 33428
Andrew Mann, Custodian         606 West 113th Street, Apt. 6B         0.170310%
f/b/o Benjamin Mann            New York, NY 10025
Andrew Mann, Custodian         606 West 113th Street, Apt. 6B         0.170310%
f/b/o Clementine Mann          New York, NY 10025
Andrew Mann, Custodian         606 West 113th Street, Apt. 6B         0.170310%
f/b/o Samuel Mann              New York, NY 10025
Andrew Mann Trust Under        606 West 113th Street, Apt. 6B         0.491265%
Article Third of the T Mann    New York, NY 10025
Rev Trust u/t/a/d 4/27/10,
Andrew Mann, TR
Dakota Mann                    258 Bedford-Banksville Rd.             0.170310%
Jonathan Mann, Custodian       Bedford, NY 10506
Jackson Dylan Mann             258 Bedford-Banksville Rd.             0.170310%
Jonathan Mann, Custodian       Bedford, NY 10506
Jonathan Mann                  258 Bedford-Banksville Rd.             0.327510%
                               Bedford, NY 10506
Jonathan Mann Trust Under      258 Bedford-Banksville Rd.             0.491265%
Article Third of the T Mann    Bedford, NY 10506
Rev Trust u/t/a/d 4/27/10,
Jonathan Mann, TR



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                          88 Hamilton Member Avenue Member Associates, LLC
                                                                                        Con-       Un-      Dis-
                                                                                        tinge   liquidate   pute
      Equity Holder              Address of Equity Holder         Interest Percentage     nt        d        d
C. Donald Martin              907 Cumberland Ridge Road                1.31004%
                              Oxford, MS 38655
Rosemary McAllister           8 Peter Cooper Road #9B                 2.62009%
                              New York, NY 10010-6719
                              1088 Park Avenue, Apartment             2.62009%
  McGuire Family 2012         9E New York, NY 10128
  Irrevocable
 Trust
Judith S. McGuire, Trustee
Christopher & Michele         22 Bridle Trail                         0.32751%
Meehan                        Fairfield, CT 06824
Jack & Fran Meehan            1011 Pequot Avenue                      2.62009%
                              Southport, CT 06890
Douglas J. Mello              66 Milton Road, Apartment D11           2.62009%
                              Rye, NY 10580
Christine C. Merritt          83 Brookside Road                       3.60262%                               X
                              Darien, CT 06820
W. Tyler Merritt              Black Diamond Equipment                 1.68502%                               X
                              142 Cochran Road
                              Richmond, VT 05477
William A. Merritt, Jr.       83 Brookside Road                       1.26258%                               X
                              Darien, CT 06820
Beth Meehan Palmer            10 West 15th Street #1205               0.32751%
                              New York, NY 10011
SAV Equities, LLC             Attn: Anthony J. Savarese               1.31004%
                              30 Drake Avenue
                              Rye, NY 10580
David H. and Janet M.         10 Dellwood Road                     1.262582.6200%
Soskin                        Darien, CT 06820
Jeno Szeredas Trust           130 Brookline Drive                     0.327510%
Pollyann Kelly, Trustee       Pinehurst, NC 28374
Pauline P. Szeredas TR,       c/o Polyann Kelly                       1.310040%
Dated 4/9/99                  130 Brookline Drive
                              Pinehurst, NC 28374




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Membership Interests in PSWMA I, LLC

                                               PSWMA I, LLC
         Equity Holder       Address of Equity Holder         Interest Percentage    Con-       Un-      Dis-
                                                                                     tinge   liquidate   pute
                                                                                       nt        d        d
 PSWMA II, LLC             1 Atlantic Street                        100%
                           Stamford, CT 06901c/o META
                           Advisors LLC
                           101 Park Avenue, 30th Floor
                           New York, NY 10178

Membership Interests in PSWMA II, LLC

                                            PSWMA II, LLC
        Equity Holder        Address of Equity Holder     Interest Percentage       Con-        Un-      Dis-
                                                                                    tinge    liquidate   pute
                                                                                      nt         d        d
Seaboard Realty, LLC       1 Atlantic Street                        100%                                  X
                           Stamford, CT 06901c/o
                           Thomas L. Kelly, Jr.
                           130 Brookline Drive
                           Pinehurst, NC 28734

                           Jeoffrey L. Burtch
                           P.O. Box 549
                           Wilmington, DE 19899

                           Sean T. Greecher
                           Young Conaway Stargatt &
                           Taylor, LLP
                           1000 North King Street
                           Wilmington, DE 19801




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